              MINUTES OF THE UNITED STATES DISTRICT COURT
                           DISTRICT OF ALASKA

U.S.A. vs.        NOBUYA MICHAEL OCHINERO CASE NO. 3:14-mj-00049-DMS
Defendant:        X Present X In Custody

BEFORE THE HONORABLE:             DEBORAH M. SMITH

DEPUTY CLERK/RECORDER:            ALISON HURST

UNITED STATES’ ATTORNEY:          STEPHANIE CAROWAN COURTER

DEFENDANT'S ATTORNEY:             JAMIE MCGRADY - APPOINTED

U.S.P.O.:                         CHARLENE HENSEL

PROCEEDINGS: INITIAL APPEARANCE ON COMPLAINT
             HELD FEBRUARY 11, 2014:
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
At 3:50 p.m. court convened.

Copy of Complaint given to defendant: waived reading.

Defendant advised of general rights, charges and penalties.

Defendant stated true name: Same as above

Financial Affidavit FILED.

Federal Public Defender accepted appointment; FPD notified.

Preliminary Hearing set for         February 25, 2014 at 10:00 a.m.

Order of Detention Pending Trial FILED.

At 4:00 p.m. court adjourned.




DATE:       February 11, 2014         DEPUTY CLERK'S INITIALS:           AJH
Revised 1-27-14




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